         Case 1:22-cr-00015-APM          Document 364         Filed 10/03/22      Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )         Case No. 1:22-cr-00015-APM
                       v.                          )
                                                   )
 KELLY MEGGS,                                      )
                                                   )
                  Defendant.                       )
                                                   )


                                 MOTION FOR BENCH TRIAL

         Defendant Kelly Meggs, by and through his undersigned counsel, hereby respectfully

requests this Court permit Mr. Meggs a nonjury bench trial, pursuant to Rule 23 of the Federal

Rules of Criminal Procedure.

    I.      BACKGROUND

         Mr. Meggs was first charged by criminal complaint on February 11, 2021. United States

v. Kelly Meggs, No. 21-MJ-225 (Feb. 11, 2021) (ECF No. 1). Thereafter, on February 19, 2021,

a grand jury returned an indictment as against Mr. Meggs charging him with four counts,

including 18 U.S.C. § 1512(c)(2). Since his arrest and subsequent indictment, Mr. Meggs has

consistently challenged the ability of a jury in this district to be fair and impartial. See In re

Murchison, 349 U.S. 133, 136 (1955). On July 1, 2021, Mr. Meggs’s co-defendant, Thomas

Caldwell, first filed a motion to transfer venue because, “any potential jury will presumptively be

prejudiced against [the defendants], thus making it impossible for [the defendants] to receive a

fair trial in the District.” Mot. at 21-22, United States v. Caldwell, No. 21-CR-28 (July 1, 2021)

(ECF NO. 273). The government opposed and the Court denied the motion. On April 15, 2022,

Mr. Meggs’s co-defendants filed a motion to change venue asserting that they faced significant

prejudice in the District of Columbia and would otherwise be unable to have a fair and impartial
       Case 1:22-cr-00015-APM            Document 364         Filed 10/03/22      Page 2 of 6




jury. Mot. at 23, United States v. Crowl, No. 21-cr-28 (April 15, 2022) (ECF No. 654). As part

of their motion, the defendants produced three (3) commissioned surveys demonstrating

prejudgment bias in this District as against those accused of participating in the events of January

6, 2021. The government opposed and the Court denied the motion. On July 22, 2022, Mr.

Meggs requested a continuance, rather than a transfer of venue, but again asserting the

impossibility of a fair and impartial jury in this District for those alleged to have participated in

the events of January 6, 2021. Mot. at 5 (July 22, 2022) (ECF No. 198). The government

opposed and the Court denied the motion.

       The operative indictment in this matter was returned on June 22, 2022, charging Mr.

Meggs and his co-defendants with a scheme – seditious conspiracy – to illegally oppose the

lawful transition of presidential power leading up to and on January 6, 2021. Superseding

Indictment at 3 ¶ 3 (ECF No. 167). Currently, the Rhodes Defendants are scheduled to be tried

in two separate jury trials: one beginning today and the next in late November.

       In voir dire, Mr. Meggs sought the exclusion of a number of jurors whom he and defense

counsel believed incapable of being fair and impartial. Although the Court concluded forty-

seven (47) jurors could ultimately be fair and impartial, it is irrefutable that the majority of those

questioned had negative feelings about the events of January 6, 2021. Of most significance is the

juror for whom defense counsel requested an additional peremptory strike: Juror 1262 – a

defense contractor whose wife works in the Federal Programs Branch of the Department of

Justice. While perhaps not part of the “prosecution team,” the juror’s familial connection to the

Department of Justice – the largest law firm in the world – is inherently a conflict of interest.

The court denied Mr. Meggs’s request for an additional peremptory strike and juror 1262 now

sits on the jury that will adjudge Mr. Meggs.
       Case 1:22-cr-00015-APM            Document 364         Filed 10/03/22       Page 3 of 6




        In short, Mr. Meggs has exhausted every procedural avenue to avoid judgment by a jury

he firmly believes is incapable of being fair and impartial given the gravity of the events of

January 6, 2021. Accordingly, he respectfully requests this Court permit him a bench trial.

        Rule 23 of the Federal Rules of Criminal Procedure states that when a defendant is

entitled to a jury trial, the trial must be by jury unless the defendant waives a jury trial in writing,

the government consents, and the court approves. Fed. R. Crim. P. 23(a)(1)-(3). The validity of

the rule was upheld by the Supreme Court in United States v. Singer, 380 U.S. 24 (1965), where

the court held that the reason the statute remains as requiring the government’s consent is

because “the government attorney in a criminal prosecution is not an ordinary party to a

controversy, but a ‘servant of the law’ with a ‘twofold aim . . . that guilt shall not escape or

innocence suffer.’ It was in light of this concept of the role of prosecutor that Rule 23(a) was

framed, and we are confident that it is in this light that it will continue to be invoked by

government attorneys.” Id. at 37 (quoting Berger v. United States, 295 U.S. 78, 88 (1935)). The

Court further held that, “[b]ecause of this confidence in the integrity of the federal prosecutor,

Rule 23(a) does not require that the Government articulate its reasons for demanding a jury trial

at the time it refuses to consent to a defendant's proffered waiver. Nor should we assume that

federal prosecutors would demand a jury trial for an ignoble purpose.” Id. Thus, the court

declined to consider in what cases a prosecutor might demand a jury trial for an “ignoble

purpose,” and what that “ignoble purpose” may be. Mr. Meggs submits that this case presents

precisely the scenario contemplated by the Court in Berger. Specifically, the government has

advised that it oppose a bench trial in this matter unless all co-defendants it chose to try together

agree to a bench trial. As the government is well aware, one defendant – with virtually no

connection whatsoever to Mr. Meggs – has thus far opposed a bench trial.
       Case 1:22-cr-00015-APM            Document 364         Filed 10/03/22    Page 4 of 6




        Although the Supreme Court has not recognized a right to a bench trial pursuant to the

Sixth or Seventh Amendments the way that a right to a trial by jury has been recognized, cases in

the D.C. Circuit where bench trials were denied often came down to the traditional value placed

upon juries as the factfinders and decision-makers in criminal trials. See generally Dixon v.

United States, 292 F.2d 768, 769-770 (D.C. Cir. 1961). Notably, no court in this district has

addressed this scenario identified by the Supreme Court – that the government might insist on a

jury trial for an “ignoble purpose.” This district has, however, acknowledged that the

government may not veto a defendant’s request for a bench trial that violates his constitutional

rights, as held in Singer. See United States v. Dockery, 955 F.2d 50, 55 (D.C. Cir. 1992). Here,

the significant potential for bias within the jury pool and the inability of Mr. Meggs to be tried by

a fair and impartial jury violate his Constitutional rights. No matter the inconvenience to the

government of having to try Mr. Meggs separately, any insistence by the government that he be

tried by a jury that cannot be fair and impartial constitutes a breach of the government’s duty to

be a “servant of the law,” to act with integrity and to demand jury trials only for noble purpose.

                                           CONCLUSION

        For the foregoing reasons, Mr. Meggs respectfully requests this Court find that a bench

trial is warranted as to Mr. Meggs, following a colloquy confirming Mr. Meggs’s knowing and

informed waiver of his right to t a trial by jury in this matter.

                                [SIGNATURE ON NEXT PAGE]
     Case 1:22-cr-00015-APM   Document 364     Filed 10/03/22    Page 5 of 6




Dated: October 3, 2022           Respectfully submitted,

                                        /s/ Stanley E. Woodward, Jr.
                                 Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                 BRAND WOODWARD LAW, LP
                                 1808 Park Road NW
                                 Washington, DC 20010
                                 202-996-7447 (telephone)
                                 202-996-0113 (facsimile)
                                 Stanley@BrandWoodwardLaw.com

                                 Counsel for Defendant Kelly Meggs
       Case 1:22-cr-00015-APM            Document 364         Filed 10/03/22   Page 6 of 6




                                  CERTIFICATE OF SERVICE

        On October 3, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
                                                Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                                BRAND WOODWARD LAW, LP
                                                1808 Park Road, Northwest
                                                Washington, DC 20010
                                                202-996-7447 (telephone)
                                                202-996-0113 (facsimile)
                                                Stanley@BrandWoodwardLaw.com
